                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for lack of prosecution.
A case management conference was scheduled at 10:00 a.m. on November 1, 2011, to consider Plaintiff's appeal. On July 8, 2011, the court sent notice of the scheduled case management conference to the email address Plaintiff provided to the court. The notice was not returned as undeliverable. The notice advised that if Plaintiff did not appear, the court might dismiss the appeal.
On November 1, 2011, the court sent Plaintiff a letter which explained the importance of diligently pursuing an appeal. That letter was sent to Plaintiff's address, 19875 SW Porcupine Dr., Bend, OR 97702, which is the mailing address Plaintiff provided to the court. That letter was not returned as undeliverable. The letter advised that if Plaintiff did not provide a written explanation by November 15, 2011, for his failure to appear, the court would dismiss the appeal. As of this date, Plaintiff has not submitted a written response to the court explaining his failure to appear at the November 1, 2011, case management conference. Under such circumstances, the court finds the appeal must be dismissed for lack of prosecution. Now, therefore, / / / *Page 2 
IT IS THE DECISION OF THIS COURT that the Complaint is dismissed.
Dated this ___ day of December 2011.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to: Fourth Floor,1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the date ofthe Decision or this Decision becomes final and cannot be changed.
 This document was signed by Magistrate Dan Robinsonon December 9, 2011. The Court filed and entered this documenton December 9, 2011. *Page 1 